       Case 4:10-cr-00271-DPM   Document 37   Filed 03/14/12   Page 1 of 1



             IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                      WESTERN DIVISION


UNITED STATES OF AMERICA                                          PLAINTIFF


v,.                        No.4:10-cr-271-0l-DPM


JULIO SILVA                                                    DEFENDANT


                                 ORDER

      The United States' motion, Document No. 36, is granted. FED. R. CRIM.

P.48(a). Indictment, Document No.3, dismissed without prejudice as to Julio

Silva. The active warrant for Julio Silva's arrest is quashed and shall be

returned un-executed.

      So Ordered.




                                        D.P. Marshall Jr.
                                        United States District Judge
